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7     AMA Multimedia, LLC

8                                  UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEVADA
9
10    AMA MULTIMEDIA, LLC, a Nevada                  Case No.: 2:15-cv-01673-JCM-GWF
      limited liability company,
11
                    Plaintiff,                       PLAINTIFF’S OPPOSITION TO
12
                                                     DEFENDANTS’ MOTION TO DISMISS
13    v.                                             AMENDED COMPLAINT AND FOR AN
                                                     AWARD OF CONTRACTUAL COSTS AND
14    BORJAN SOLUTIONS, S.L. d/b/a                   FEES
15    SERVIPORNO, a Spanish company;
      and BORJAN MERA URRESTARAZU,
16    an individual,
17                  Defendants.
18
19
            If Defendants had not intentionally frustrated Plaintiff’s initial attempts to
20
      arbitrate this matter as required by contract, the instant litigation would not
21
      have been brought. They cannot both refuse to participate in arbitration and
22
      then complain that this matter was not arbitrated.                Now that Defendants
23
      appear ready and willing to participate in arbitration, and Magistrate Judge
24
      Foley has recommended that Plaintiff’s Motion to Compel Arbitration should be
25
      granted (Doc. No. 21), this matter should be stayed, and Defendants should be
26
      compelled      to    arbitrate,   consistent    with    Judge      Foley’s   Report   and
27
                                                     -1-
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1     Recommendation. Defendants are otherwise properly subject to the jurisdiction

2     of this Court. Plaintiff hereby opposes Defendants’ Motion to Dismiss Amended

3     Complaint and for an Award of Contractual Costs and Fees (Doc. No. 13).

4     1.0   Procedural Background

5           As recited in the Amended Complaint, and generally repeated by

6     Defendants, AMA Multimedia produces videos, and Defendants operate a

7     website that distributes videos, the majority of them unlawfully.                Defendants

8     wrongly distributed (and continue to distribute) Plaintiff’s copyrighted works

9     without authorization.        The parties reached an initial agreement in a prior

10    dispute (the “Settlement Agreement”) on August 26, 2013.                    It appears that

11    Defendants abided by that Agreement for about one year but soon

12    recommenced unauthorized distribution of Plaintiff’s works.                     Defendants’

13    renewed distribution of Plaintiff’s videos resulted in the instant dispute, based

14    both on Defendants’ copyright infringement and their breach of the Settlement

15    Agreement.

16          In setting forth the history of the dispute, Defendants withhold relevant

17    documents from the Court. They stop with the e-correspondence of June 27,

18    2015 and ignore subsequent events. (See Doc. No. 7-1 at 19-22.) As set forth in

19    the Amended Complaint, on or about August 3, 2015, Plaintiff transmitted a

20    Demand for Arbitration and an Arbitration Complaint to ADR Services, in an

21    attempt to initiate arbitration. (See Doc. No. 9 at ¶ 89.) Defendants frustrated

22    that attempt. (See id. at ¶ 96.) Defendants were cagily uncommunicative with

23    AMA’s chosen arbitration service and violated the arbitration rules by filing a

24    motion to dismiss before any arbitration had formally begun. (See Doc. No. 10

25    at 6-7; see also Doc. No. 10-6 at ¶¶ 4, 7-10, 14; and see Doc. No. 17-1 at Rule

26    5(A)(2).)    These actions convinced ADR Services that Defendants would not

27    consent to arbitration with them and, on August 25, 2016, declined to take the
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1     case. (See Doc. No. 10-6 at ¶ 14; see also Doc. No. 10 at ¶¶ 95 & 99.) Seeing as

2     Defendants were acting to avoid arbitration, the instant lawsuit was filed.

3     2.0   Legal Standard

4           To support personal jurisdiction, the plaintiff must only “‘make only a prima

5     facie showing of jurisdictional facts to withstand the motion to dismiss.’” Doe v.

6     Unocal, 248 F.3d 915, 922 (9th Cir. 2001) (quoting Ballard v. Savage, 65 F.3d 1495,

7     1498 (9th Cir. 1995)).      When considering the jurisdictional issue, the court

8     “resolves all disputed facts in favor of the plaintiff.” Pebble Beach Co. v. Caddy,

9     453 F.3d 1151, 1154 (9th Cir. 2006).

10          Generally, personal jurisdiction over a defendant is proper if it is permitted

11    by a long-arm statute and does not violate federal due process. See Fireman’s

12    Fund Ins. Co. v. Nat. Bank of Coops., 103 F.3d 888, 893 (9th Cir. 1996). Here, both

13    the Nevada long-arm statute (NRS 14.065) and Fed. R. Civ. P. 4(k)(2) apply. Rule

14    4(k)(2) affords jurisdiction over a foreign defendant, treating the entire United

15    States as one “state” for jurisdictional purposes. See Unocal, 248 F.3d at 922

16    (employing Rule 4(k)(2) as a federal long-arm statute). Due process under both

17    statutes is satisfied for a non-resident defendant if he has “minimum contacts”

18    with the forum such that the assertion of jurisdiction “does not offend traditional

19    notions of fair play and substantial justice.” Int’l Shoe Co. v. Washington, 326 U.S.

20    310, 315 (1945).

21          The Ninth Circuit has held that “a motion to dismiss for a failure to exhaust

22    non-judicial remedies is properly considered a ‘nonenumerated’ Rule 12(b)

23    motion.” Inlandboatmens Union of the Pac. v. Dutra Group, 279 F.3d 1075, 1078

24    n.2 (9th Cir. 2002).     Recently, this Court determined that dismissal without

25    prejudice is appropriate where it granted a defense motion to compel

26    arbitration, rather than staying the matter. Carter v. Rent-A-Center, Inc., 2015

27    U.S. Dist. LEXIS 106747, *6-7 (D. Nev. Aug. 13, 2015). As Plaintiff, though, is the one
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1     so moving here, a stay is more appropriate than dismissal to ensure continuing

2     jurisdiction. See Nguyen v. Barnes & Noble Inc., 763 F.3d 1171, 1175 (9th Cir.

3     2014) (“The FAA, 9 U.S.C. § 1 et seq., requires federal district courts to stay

4     judicial proceedings and compel arbitration of claims covered by a written and

5     enforceable arbitration agreement. Id. § 3.”) Further, “[t]he FAA limits the district

6     court's role to determining whether a valid arbitration agreement exists, and

7     whether the agreement encompasses the disputes at issue.” Id. It is undisputed

8     that a valid arbitration agreement exists and encompasses the present dispute.

9     3.0   Analysis

10          Defendants implicitly consented to personal jurisdiction in Nevada and

11    such jurisdiction is otherwise appropriate. If no state has personal jurisdiction,

12    Fed.R.Civ.P. 4(k)(2) otherwise warrants jurisdiction being exercised in Nevada. At

13    a minimum, there is sufficient evidence and allegation to warrant jurisdictional

14    discovery.1

15          The parties agree that there is a valid arbitration agreement. However,

16    Defendants appear to have waived their right to arbitrate. Thus, the matter

17    may proceed to a trial on the merits. Notwithstanding the waiver, Plaintiff would

18    prefer to arbitrate the matter. As the agreement is valid and enforceable, the

19    litigation should be stayed and arbitration compelled, as provided for in the

20    Magistrate’s Report and Recommendation.              Consistent with that Report, the

21    Honorable Philip Pro should be the arbitrator.

22    //

23
24    1 Plaintiff addresses jurisdiction first because “[g]enerally, a district court should
      resolve jurisdictional issues before moving to the merits of any case.” Ltd.
25    Brands, Inc. v. F.C. (Flying Cargo) Int'l Transp. Ltd., 2006 U.S. Dist. LEXIS 17029, *9
26    (S.D. Ohio Mar. 27, 2006). However, the Court need not reach this question
      because Defendants consent to having the matter referred to arbitration. (See
27    Doc. No. 14 at 2.)
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1           3.1    Defendants are Subject to Jurisdiction in the State of Nevada

2           Defendants are subject to the jurisdiction of this Court pursuant to

3     Nevada’s long-arm statute, N.R.S. 14.065. "Federal courts ordinarily follow state

4     law in determining the bounds of their jurisdiction over persons." Daimler AG v.

5     Bauman, 134 S. Ct. 746, 753, 187 L. Ed. 2d 624 (2014). Personal jurisdiction over a

6     nonresident is only proper if it is “permitted by a state's long-arm statute and if

7     the exercise of that jurisdiction does not violate federal due process.” In re W.

8     States Wholesale Nat. Gas Antitrust Litig., 715 F.3d 716, 741 (9th Cir. 2013). As

9     recently set forth by this Court:

10          Nevada's long-arm statute provides for personal jurisdiction on any
            basis that is consistent with the Federal Constitution. N.R.S. 14.065.
11          Specifically, personal jurisdiction is proper when (1) the defendant
12          has purposefully availed itself “of the privilege of acting in the forum
            state,” (2) the claim arises “from consequences in the forum state of
13          the defendant's activities,” and (3) those activities had “a substantial
            enough connection within the forum state to make the exercise of
14          jurisdiction over the defendant reasonable.” Consipio Holding, BV v.
15          Carlberg, 282 P.3d 751, 755 (Nev. 2012) (quoting Jarstad v. Nat'l
            Farmers Union, 92 Nev. 380, 552 P.2d 49, 53 (Nev. 1976)).
16
      Strack v. Morris, 2015 U.S. Dist. LEXIS 102553, *5 (D. Nev. Aug. 5, 2015). Nevada’s
17
      test mirrors the three-part test used by the Ninth Circuit to determine whether the
18
      requisite minimum contacts exist:
19
           (1) the defendant has performed some act or consummated some
20         transaction within the forum or otherwise purposefully availed himself
           of the privileges of conducting activities in the forum; (2) the claim
21         arises out of or results from the defendant’s forum-related activities;
22         and (3) the exercise of jurisdiction is reasonable.
      Caddy, 453 F.3d 1151, 1155 (quoting Bancroft & Masters, Inc. v. Augusta Nat’l,
23
      Inc., 223 F.3d 1082, 1086 (9th Cir. 2000)). The burden is on the plaintiff to establish
24
      the first two prongs. See Bancroft, 223 F.3d at 1089. If it does so, the burden shits
25
      to the defendant to show that exercise of jurisdiction is unreasonable. See id. In
26
      the instant case, an application of these 3 factors clearly indicates that this
27
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1     Court has specific jurisdiction over Defendants with regard to Plaintiff’s current

2     claims against them.

3                    3.1.1 Purposeful Availment and/or Purposeful Direction

4           In order to satisfy the first prong of the minimum contacts test, AMA must

5     demonstrate      that   Defendants      have    either    “(1)   ‘purposefully       availed’

6     [themselves] of the privilege of conducting activities in the forum, or (2)

7     ‘purposefully directed’ [their] activities toward the forum.” Caddy, 453 F.3d at

8     1156 (citing Schwarzenegger v. Fred Martin Motor Car Co., 374 F.3d 797, 800 (9th

9     Cir. 2004)).   In this instance, the “purposeful availment” requirement subjects

10    Defendants to specific jurisdiction in the State of Nevada.              The “purposeful

11    direction” requirement, as will be discussed below, subjects Defendant to

12    jurisdiction pursuant to Rule 4(k)(2). Plaintiff must only show one, Nevada long

13    arm, or Rule 4(k)(2), for jurisdiction to attach. However, either may properly be

14    found here.

15          To satisfy the “purposeful availment” requirement, the defendant must

16    have “performed some type of affirmative conduct which allows or promotes

17    the transaction of business within the forum state.” Boschetto v. Hansing, 539

18    F.3d 1011 (9th Cir. 2008). The formation of a contract alone with a resident of

19    the forum is typically not enough to subject the non-resident defendant to

20    jurisdiction in the forum; there must be something more, such as ongoing

21    business activities in the forum. See id.

22          In this case, there is “something more.” In fact, there is “much more.” In

23    the Settlement Agreement, Defendants specifically agreed that both formal

24    mediation and arbitration are to be conducted in Clark County, Nevada. (See

25    Doc. No. 9-2 at 8, ¶ 20.1.)       Although the Agreement disclaims “consent to

26    personal jurisdiction” (id. at ¶ 20.0), courts have held that agreements to

27    arbitrate specifying a jurisdiction may constitute implicit consent to jurisdiction in
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1     that forum. See Ins. Corp. of Ir. v. Compagnie Des Bauxites De Guinee, 456 U.S.

2     694, 704 (U.S. 1982); Painewebber Inc. v. Chase Manhattan Private Bank (Switz.),

3     260 F.3d 453, 461 (5th Cir. 2001).         In fact, this Court has observed that an

4     arbitration forum selection clause may constitute consent to personal jurisdiction

5     in a suit arising directly from the agreement to arbitrate itself.           See Pfister v.

6     Selling Source, LLC, 931 F. Supp. 2d 1109, 1116 (D. Nev. 2013); see also Fireman's

7     Fund Insurance Company v. National Bank of Cooperatives, 103 F.3d 888 (9th

8     Cir. 1996) (considering arbitration forum selection clause as potential implicit

9     consent).       This is a suit arising from, in part, the contract containing the

10    agreement to arbitrate, and Defendants’ agreement constitutes “something

11    more,” if not outright consent.

12                    3.1.2 Defendants’ Forum Related Activities

13           Defendants’ contacts with Nevada are a “but for” cause of AMA’s claims.

14    See Ziegler v. Indian River Cty., 64 F.3d 470, 474 (9th Cir. 1995), and thus AMA’s

15    suit arises from their forum-related activities. Defendant Urrestarazu travels to Las

16    Vegas to meet with industry members.              (See Doc. No. 9-1 at 6.)            And the

17    settlement agreement specifies Nevada as the arbitration forum, made with a

18    Nevada company, regarding content distributed from Nevada.

19                    3.1.3 This Court’s exercise of jurisdiction over Defendants is
                            reasonable
20
             Defendants only make a conclusory statement that exercise of jurisdiction
21
      is not reasonable. (See Doc. No. 13 at 16.) They make the circular argument
22
      that since there is no jurisdiction, it is unreasonable, and thus there should be no
23
      jurisdiction.     Notwithstanding this, in determining whether jurisdiction is
24
      reasonable, Courts in this Circuit consider the seven factors enumerated in Dole
25
      Food Co., Inc. v. Watts, 303 F.3d 1104, 1111 (9th Cir. 2002). They are:
26
             (1) the extent of the defendants' purposeful injection into the forum
27           state's affairs; (2) the burden on the defendant of defending in the
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            forum; (3) the extent of conflict with the sovereignty of the
1
            defendant's state; (4) the forum state's interest in adjudicating the
2           dispute; (5) the most efficient judicial resolution of the controversy;
            (6) the importance of the forum to the plaintiff's interest in
3           convenient and effective relief; and (7) the existence of an
4           alternative forum.
      Id. Here, in choosing Nevada as the site of mediation and arbitration, making
5
      their website available to Nevadans, and distributing (lawfully and unlawfully)
6
      the works of a Nevadan Plaintiff, Defendants have purposefully injected
7
      themselves into the State of Nevada. They have demonstrated through their
8
      consent to the arbitration clause, and even their motion to dismiss filed in the
9
      arbitration, that there is no significant burden created by defending themselves
10
      in Nevada. Compare Fireman's Fund Insurance Company v. National Bank of
11
      Cooperatives, 103 F.3d 888 (9th Cir. 1996). There is no known conflict with their
12
      state’s sovereignty. Nevada has an interest in adjudicating disputes affecting its
13
      citizens. As the agreement is to be governed by the laws of Nevada, the most
14
      efficient resolution of this dispute is in Nevada; Plaintiff’s witnesses are in Nevada
15
      and Defendants have able American counsel, including in Nevada. Nevada is
16
      important to Plaintiff, as it is where it is based and is most convenient to it. The
17
      Court should not give particular weight to any claimed inconvenience on the
18
      part of Defendants, either.         “Modern advances in communications and
19
      transportation have significantly reduced the burden of litigating in another
20
      country.”   Sinatra v. Nat’l Enquirer, Inc., 854 F.2d 1191, 1199 (9th Cir. 1988). 2
21
      Defendants have not offered an alternative forum.                 Thus, the exercise of
22
      jurisdiction would be reasonable.
23
24
25
26
      2 One can only assume that the expense of international litigation has only
27    lessened in the 27 years since Sinatra.
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            3.2    Alternatively, Defendants are Subject to This Court’s Jurisdiction
1
                   Under FRCP 4(k)(2)
2           Fed. R. Civ. P. 4(k)(2) provides that, for a claim arising under federal law,
3     service on a defendant establishes personal jurisdiction if: “(A) the defendant is
4     not subject to jurisdiction in any state’s courts of general jurisdiction; and (B)
5     exercising jurisdiction is consistent with the United States Constitution and laws.”
6     See Getz v. Boeing, 654 F.3d 852, 858-59 (9th Cir. 2011); see also Elan
7     Microelectronics Corp. v. Pixcir Microelectronics Co., 2012 U.S. Dist. LEXIS 19255,
8     *6 (D. Nev. Feb. 16, 2012). As Defendants correctly point out in their Motion to
9     Dismiss, “[t]he due process analysis under Rule 4(k)(2) is nearly identical to
10    traditional personal jurisdiction analysis with one significant difference: rather
11    than considering contacts between the [defendants] and the forum state, we
12    consider contacts with the nation as a whole.” Holland Am. Line, Inc. v. Wartsila
13    N. Am., Inc., 485 F.3d 450, 462 (9th Cir. 2007) (emphasis added). Defendants’
14    arguments    following    this   recitation   of   law,    however,     are    based   on
15    misrepresentations to the Court and do not withstand scrutiny.
16          The first prong is easy to dispense with: AMA’s claims arise under a federal
17    statute, the Copyright Act.        U.S. district courts have original and exclusive
18    jurisdiction over Copyright Act claims. See 28 U.S.C. § 1338(a).
19                 3.2.1 If Defendants Are Not Subject to Jurisdiction in Nevada
20                       Specifically, they are Beyond the Reach of Any State Court of
                         General Jurisdiction
21
            AMA discusses in Section 3.1, supra, why Defendants are subject to
22
      personal jurisdiction in the State of Nevada. If the Court disagrees with AMA,
23
      however, then there is no other known individual state with which Defendant
24
      has sufficient minimum contacts.         To AMA’s knowledge, Defendants do not
25
      currently own any other property or assets located in the United States, nor does
26
27
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1      AMA have any evidence of commercial or other activity specifically directed to

2      any given state more prominently than Nevada.

3            Rule 4(k)(2) allows a foreign defendant to concede jurisdiction in an

4      alternate state, with the plaintiff then having to support his chosen forum. It is

5      the defendant’s burden to establish an alternative forum, and the mere

6      possibility that another state may be more appropriate is of no effect if the

7      defendant does not request a different venue. See Holland Am. Line, Inc. v.

8      Wartsila N. Am., Inc., 485 F.3d 450, 461 (9th Cir. 2007) quoting ISI Int’l, Inc. v.

9      Borden Ladner Gervais LLP, 256 F.3d 548, 552 (7th Cir. 2001). Defendants have

10     not done this, waiving their ability to concede jurisdiction in another state.

11     Accordingly, if AMA can show that jurisdiction is proper in the United States

12     under Rule 4(k)(2), then its choice of forum prevails.

13                  3.2.2 Exercising Jurisdiction Over Defendant is Consistent With
                          U.S. Law
14
             As explained above, the 9th Circuit employs a three-part test to determine
15
       whether a court has personal jurisdiction over a defendant: (1) purposeful
16
       availment or direction; (2) “but for” causation as to the defendant’s contacts;
17
       and (3) reasonableness. See Schwarzenegger, 374 F.3d at 802. Defendants
18
       erroneously deny each of these parts.
19
                           3.2.2.1    Defendants purposefully directed activity towards
20                                    the United States
21           AMA’s videos, as produced and distributed, display AMA’s trademarks for

22     identification and branding purposes.          (See Exhibit 1, Declaration of Adam

23     Silverman (“Silverman Dec.”), at ¶2.)          Many of these marks are federally

24     registered with the United States Patent and Trademark Office. (See Silverman

25     Dec. at ¶3.) The most cursory online search of the USPTO’s database would

26     reveal that AMA, a Nevada company, owned the content Defendants were

27     infringing. Defendants undoubtedly knew that it was not theirs and that posting
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1      it was unlawful.      After all, they specifically entered into the Settlement

2      Agreement because of a claim of infringement.

3            The number of visitors to a website from a particular forum is relevant to

4      the express aiming inquiry. See Mavrix Photo, Inc. v. Brand Techs., Inc., 647 F.3d

5      1218, 1230 (9th Cir. 2011).     Courts in this circuit do not hesitate to subject a

6      defendant to jurisdiction in the U.S. where that Defendant: (1) has contacts with

7      the U.S., such as vendors; (2) receives a “substantial amount of traffic from

8      United States residents”; and (3) profits from advertising targeting U.S. residents.

9      Cybernet Entertainment, LLC v. IG Media, Inc., Case No. 2:12-cv-01101-SRB, Doc.

10     # 32, at 14 (D. Ariz. Nov. 30, 2012); see also Quokka Sports, Inc. v. Cup Int’l, Ltd.,

11     99 F. Supp. 2d 1105, 1111 (N.D. Cal. 1999) (finding jurisdiction pursuant to Rule

12     4(k)(2) where defendants used a U.S. registrar and featured advertising from U.S.

13     companies on their website). Each of those factors is present here.

14           In this case, Defendants’ express aiming is targeted to the U.S. as a whole.

15     Although <serviporno.com> is in Spanish by default, clicking on the flag button in

16     the upper right corner of the web site shows the U.S. flag as the first option, and

17     it redirects to <bubbaporn.com>.          See Exhibit 2, Declaration of Trey Rothell

18     (“Rothell Dec.”), at ¶¶2-4.3 BubbaPorn looks identical to the Serviporno site in

19     virtually all respects. (See id. at ¶¶4-5.) In fact, an Internet user would likely not

20     realize that he had been taken to another website.

21           Defendants specifically announced their intent to target the “American

22     market.” (Doc. No. 9-1 at 3.) The Spanish site is just a “test tube” in which they

23     lose money. (Id. at 5.) The main <serviporno.com> site contains a link titled

24     “DMCA – Copyright,” in English, wherein an American DMCA agent is identified.

25     (See Rothell Dec. at ¶¶ 6 & 9.) It also contains a link titled “2257 Statement”

26
       3 At the time the complaint was filed, the American redirect domain name was
27     <todayporn.com>. (See Doc. No. 9-3 at 5.)
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1      regarding 18 U.S.C. § 2257, which is also in English. (See id. at ¶¶ 6 & 10.) The

2      “Términos y Condiciones” link leads to an English Terms and Conditions

3      agreement, as does the privacy policy link, “Politica de Privacidad.” (See id. at

4      ¶¶ 6 & 8.) Notably, there is no reference to the European Union Data Protection

5      Directive (Directive 95/46/EC), or any other nation’s laws, beyond the laws of the

6      United States, referenced above. (See id. at ¶8.)

7            Defendants’ Terms of Service explicitly mention U.S. intellectual property

8      laws, stating that “[t]he Content contained on the Serviporno [sic] . . . are

9      owned by and/or licensed to Serviporno, subject to copyright and other

10     intellectual property rights under United States, Canada and foreign laws and

11     international conventions.”       (See Terms of Service, attached as Exhibit 3)

12     (emphasis added).)      Note that jurisdictions other than the United States and

13     Canada are an afterthought in these terms. In fact, no other countries are even

14     mentioned by name. Defendants’ Terms of Service shows an acute awareness

15     of the applicability of U.S. law, and that the site’s operators are primarily

16     concerned with U.S. visitors and content owned by U.S. companies.

17           Moreover, advertising on the web site is in English. (See Rothell Dec. at

18     ¶7.) In fact, the link titled “Parental Control” leads to an English-language site to

19     assist parents in blocking adult sites (see id. at ¶11); if the site were not targeted

20     toward the United States, it would not be concerned only with impressionable

21     American youths. Defendants are directing their services primarily not just to

22     English-speaking countries generally, but to the United States specifically.

23           In light of these facts, it is not credible to assert that a website with

24     hundreds of thousands, if not millions, of U.S. visitors whose videos are hosted on

25     a server located in the U.S. does not constitute purposeful direction.

26
27
                                                     - 12 -
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                           3.2.2.2    AMA’s claims arise from Defendants’ activities
1
                                      targeted at the U.S.
2            The second prong of the Schwarzenegger analysis is satisfied as to Rule
3      4(k)(2) for the same reasons it is satisfied for purposes of establishing Nevada’s
4      personal jurisdiction over Defendants, namely that they implicitly consented to
5      jurisdiction in Nevada by agreeing to arbitrate there. AMA’s case under Rule
6      4(k)(2) is even stronger, however, as Defendants operate a website that is
7      designed to attract U.S. visitors and U.S.-created content. They knew or should
8      have known that the infringing content they uploaded was owned by a U.S.
9      entity. Accordingly, the infringing activities directed towards the U.S. as a whole
10     are the “but for” cause of AMA’s suit.
11           In a series of cases highlighting claims brought by an entity named
12     “Fraserside IP, L.L.C.” in the Northern District of Iowa, Defendants cite to
13     Fraserside IP, L.L.C. v. Youngtek Solutions, Ltd., 2013 U.S. Dist. LEXIS 3779 (N.D.
14     Iowa Jan. 10, 2013).4 In the Youngtek Solutions decision, it was notable that the
15     servers were not located in the United States and there were no agents for
16     service of process. See id. at * 46-47. Here, Defendants’ servers have been in
17     Texas and California, and they have an American DMCA agent. In Fraserside IP
18     L.L.C. v. Netvertising Ltd., 2012 U.S. Dist. LEXIS 180949, *35-36 (N.D. Iowa Dec. 21,
19     2012), allegations that 16.7% of users were from the United States and the use of
20     a California company as registrar, inter alia, were sufficient allegations to
21     warrant jurisdictional discovery. Similarly, the allegations in Fraserside IP L.L.C. v.
22     Letyagin, 885 F. Supp. 2d 906, 921 (N.D. Iowa 2012), including being hosted in
23
24
25     4 Fraserside IP L.L.C. v. Hammy Media, LTD, 2012 U.S. Dist. LEXIS 5359 (N.D. Iowa
26     Jan. 17, 2012) and Fraserside IP L.L.C. v. Youngtek Solutions Ltd., 2012 U.S. Dist.
       LEXIS 98041 (N.D. Iowa July 16, 2012) did not involve a claim of jurisdiction under
27     Rule 4(k)(2).
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1      Ohio and having U.S. contacts for the purpose of displaying the plaintiff’s films,

2      were sufficient to warrant jurisdictional discovery.

3            Defendants, themselves or through their agents, have located the servers

4      used to host and distribute infringing videos in Arizona, Texas and California.

5      (See Doc. No. 9 at ¶ 21; Composite Exhibit 4.)              “For purposes of personal

6      jurisdiction, the actions of an agent are attributable to the principal.” Sher v.

7      Johnson, 911 F.2d 1357, 1362 (9th Cir. 1990). Although Defendant Urrestarazu

8      denies knowledge of such servers due to a Content Delivery Network from its

9      hosting company, LeaseWeb (Doc. No. 8 at ¶¶ 10-11), there is no evidence

10     Defendants prohibited their vendors from utilizing American servers. Moreover,

11     LeaseWeb fully advises its clients that it has a data center in San Jose, California,

12     on which it may host the services it provides to Defendants, and that it has

13     resources in its network map throughout the United States. (See Exhibit 5;5 see

14     also Exhibit 6.6) Further, the LeaseWeb CDN, as an agent of Defendants, tests

15     the availability and latency of the service it provides to Defendants every five

16     minutes to San Jose, California, and Washington, D.C., (i.e., reaching out to the

17     U.S. 576 times per day, 210,240 times per year) being two of only five locales

18     tested, and Defendants receive a monetary credit when there is a service

19     degradation to those locations.        (See Exhibit 7. 7)    By testing availability and

20     latency to both the East and West Coasts of the United States, with the United

21     States representing the largest percentage of the locations tested, users in the

22     United States are directly targeted and Defendants can foresee having to

23
       5  Available at: <https://www.leaseweb.com/platform/data-centers> (last
24     accessed February 4, 2016).
       6 Available at: <https://www.leaseweb.com/sites/default/files/Network_Map_
25     2015_-_LeaseWeb_-_Web.pdf> (last accessed February 4, 2016).
       7 Available at: <https://www.leaseweb.com/sites/default/files/Legal/CDN_ENG
26
       _B2B_v2014.3%20Support%20and%20Service%20Level%20Schedule.pdf>          (last
27     accessed February 4, 2016).
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1      defend a lawsuit there. (See id.; contrast Doc. No. 13 at 14-15 and cases cited.)

2      As the United States receives the plurality of the testing of Defendants’ websites,

3      there are sufficient contacts. As the agent, LeaseWeb, would thus be subject to

4      personal jurisdiction in the United States based upon these contacts, so, too, are

5      Defendants as its principals.      See Theo. H. Davies & Co. v. Republic of the

6      Marshall Islands, 174 F.3d 969, 974 (9th Cir. 1998) (“In determining the sufficiency

7      of a defendant's contacts, it is not only defendant's activities in the forum, but

8      also actions relevant to the transaction by an agent on defendant's behalf,

9      which support personal jurisdiction.”) (quotations omitted).

10                         3.2.2.3    This Court’s exercise of jurisdiction over Defendants
                                      is reasonable
11
             This Court’s exercise of jurisdiction over Defendants is reasonable for the
12
       same reasons as discussed in Section 3.1, supra.             For Rule 4(k)(2) purposes,
13
       however, it is even more reasonable for a U.S. court to exercise jurisdiction over
14
       Defendants. They operate a website that is designed to infringe content made
15
       by U.S. companies and attract U.S. visitors.         While they may reside in Spain,
16
       Defendants have already displayed an acute awareness of a likelihood of
17
       being haled into court in the United States for violation of its intellectual property
18
       laws, having agreed to arbitrate in Nevada to avoid a suit in Texas. (See Doc.
19
       No. 9-2 at ¶20.1.) There is nothing unreasonable about making them appear in
20
       a U.S. court when they have targeted so much activity at the United States.
21
             3.3    Counts 2-8 Should Not Be Dismissed
22
             As a general proposition, the parties agree that Counts 2-8 are subject to
23
       the agreement to arbitrate.       In his Report and Recommendations regarding
24
       Plaintiff’s Motion to Compel Arbitration, Magistrate Judge Foley agrees. (See
25
       Doc. # 21, at 5-6.) Judge Foley also recommends that this case be stayed
26
       rather than dismissed due to Plaintiff’s allegations that (1) “Defendants have
27
                                                     - 15 -
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1      previously failed to properly arbitrate this matter”; and (2) Defendants “have

2      taken actions to divest (U.S.) courts of jurisdiction.” (Id. at 6.) Plaintiff agrees with

3      the Report and Recommendation, as it will provide Plaintiff with a vehicle for

4      relief should Defendants continue their previous bad faith refusals to arbitrate

5      this dispute in good faith.

6            While this matter is arbitrated,8 the the Court may stay this proceeding

7      pursuant to 9 U.S.C. § 3; accord Morris v. Morgan Stanley & Co., 942 F.2d 648,

8      653 (9th Cir. 1991). As recommended by Magistrate Judge Foley, that is the

9      appropriate outcome here.           Defendants fail to properly address Plaintiff’s

10     request for a stay pending arbitration. (See Doc. No. 10 at 13.) As Plaintiff

11     discussed in its motion, 9 U.S.C. § 3 suggests that the instant action should be

12     stayed. Although the Ninth Circuit, in Sparling v. Hoffman Constr. Co., 864 F.2d

13     635, 638 (9th Cir. 1988), indicated that a stay is a matter of discretion, it

14     subsequently held that “§ 3 requires a stay of the trial where a valid arbitration

15     agreement is operative.” Morris v. Morgan Stanley & Co., 942 F.2d 648, 653 (9th

16     Cir. 1991), citing The Anaconda v. American Sugar Co., 322 U.S. 42, 44 (1943).

17     Courts in this Circuit agree that a stay is mandatory. See SEIU, Local 707 v.

18     Connex-ATC, 2006 U.S. Dist. LEXIS 78606, *6 (N.D. Cal. Oct. 18, 2006) (“pursuant to

19     § 3 of the FAA, the court is required to stay, not dismiss, the action pending

20     arbitration.”) citing Morris v. Morgan Stanley & Co., 942 F.2d at 653-654. More

21     recently, the Second Circuit confirmed the mandatory nature of the stay. Katz

22     v. Cellco P'ship, 794 F.3d 341 (2d Cir. 2015).

23
24
       8 In their motion, Defendants raise the question of the arbitration service
25     provider. Doc. No. 13 at 8. They also raise this in response to the motion to
26     compel arbitration Doc. No. 14 at 5-7. If this Court sees fit to appoint the
       Honorable Philip Pro as arbitrator, Plaintiff has no objection to using JAMS, one of
27     Defendants’ preferred arbitration services.
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1            Defendants argue that “the only option open to the Court is to dismiss the

2      complaint in its entirety in favor of arbitration” (Doc. No. 13 at 4), yet they are

3      silent as to 9 U.S.C. § 3, let alone whether it is mandatory or discretionary. The

4      plain language and the more recent cases mandate a stay. As recommended

5      by Magistrate Judge Foley, a stay, not dismissal, should enter upon referral to

6      arbitration. This is consistent with statutory and case law and provides Plaintiff a

7      vehicle for relief should Defendants attempt to frustrate the arbitration.

8            Even if the stay were discretionary, Defendants give no reason why a stay

9      should not enter. In contrast, Plaintiff argued (and Judge Foley agreed) that

10     Defendants’ actions to frustrate prior arbitration and this lawsuit may require

11     further oversight and intervention by this Court, and the retention of jurisdiction

12     suits those purposes. By way of example, although Defendants do not presently

13     argue arbitrability, and seem to recognize that it is a question to be left to the

14     Court, accord Gibbs-Bolender v. CAG Acceptance, LLC, 2015 U.S. Dist. LEXIS

15     20228, *7-9 (D. Nev. Feb. 18, 2015), Defendants nonetheless argue that Plaintiff

16     has not met conditions precedent.            Defendants’ procedural machinations

17     previously thwarted arbitration, presumably waiving the requirement to

18     arbitrate, by acting inconsistently with the right to arbitration. See Britton v. Co-

19     op Banking Group, 916 F.2d 1405, 1412 (9th Cir. 1990). Defendants could have

20     moved to compel arbitration, but chose not to do so. Even now, Defendants

21     misrepresent that Plaintiff raised the question of whether a condition precedent

22     was met.9 (See Doc. No. 13 at 7-8, citing BG Group PLC v. Republic of Arg., 134

23     S. Ct. 1198, 1207 (2014).) To the contrary, it was Defendants who first asked the

24
       9 Defendants also misrepresent that Plaintiff argues that direct uploading is not
25     covered by the agreement to arbitrate. (See Doc. No. 13 at 6.) Instead, Plaintiff
26     observed that ¶ 3.1 only applied to works uploaded by a third party to rebut the
       claim that Plaintiff did not meet a condition precedent. (See Doc. No. 10 at 10-
27     11.) Plaintiff agrees that direct infringement claims are actionable.
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1      Court to dismiss the case “for the plaintiff’s failure to meet the conditions

2      precedent to arbitration.” (Doc. No. 7 at 8-9.).10

3            Defendants would not be prejudiced by a stay; once the arbitrator

4      reaches a confirmable decision, Counts 2-8 could then be dismissed. To ensure

5      Plaintiff is not prejudiced, a stay, rather than a dismissal is warranted, should the

6      merits of this matter somehow escape adjudication in arbitration.

7            3.4    This Suit Is Not Frivolous

8            There is nothing frivolous about this lawsuit, and Defendants are not

9      entitled to their fees and costs. Moreover, Defendants’ Motion to Dismiss invokes

10     the fee shifting provision of the Settlement Agreement. (See Doc. No. 9-2 at ¶

11     16.0.) It provides that the prevailing party shall recover costs and reasonable

12     attorneys’ fees if the non-prevailing party’s “claim or defense of a claim was

13     frivolous, vexatious, or undertaken in bad faith.” Id. The only argument made

14
15
       10  This argument of AMA’s failure to meet conditions precedent is nonetheless
       disingenuous. Defendants agreed to arbitrate. (See Doc. No. 7-1, 8 (“Ron, We
16     agree to arbitrate . . . Val Gurvits”).) They even admit they “invited [Plaintiff] to
       initiate arbitration,” though they disputed the merits of the claims. (Doc. No. 7 at
17
       19.)     Plaintiff has otherwise substantially complied with the Settlement
18     Agreement. It sent at least 12 notifications compliant with ¶ 3.1 of the
       Settlement Agreement and gave notice by letter of December 23, 2014 and
19     January 6, 2015. (See Doc. No. 8 at Exhibit 1; see also Exhibits 8 & 9.) “[W]hen a
       letter provides notice equivalent to a list of representative works that can be
20
       easily identified by the service provider, the notice substantially complies with
21     the notification requirements.” ALS Scan, Inc. v. RemarQ Cmtys., Inc., 239 F.3d
       619, 625 (4th Cir. Md. 2001). Courts in this Circuit have approved of the holding
22     in ALS Scan. See Corbis Corp. v. Amazon.com, Inc., 351 F. Supp. 2d 1090, 1107
23     (W.D. Wash. 2004); see also Perfect 10, Inc. v. CCBill LLC, 488 F.3d 1102, 1112 n.4
       (9th Cir. 2007). Thus, as Plaintiff otherwise substantially complied with the DMCA,
24     it complied with the Settlement Agreement’s pre-suit conditions. Unfortunately,
       Defendants have not held up their end of the agreement and have taken
25     measures to avoid infringement. Therefore, Plaintiff was otherwise justified in
26     commencing arbitration and the instant litigation. To the extent there was any
       deficiency, such was waived when Defendants responded to the subpoena.
27     (See Doc. No. 10 at 11.)
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1      by Defendants is that this matter should have been arbitrated, thus the instant

2      action must be “frivolous, vexatious, and undertaken in bad faith.” (Doc. No. 13

3      at 17.) Though they repeat that mantra several times, they offer no evidence of

4      frivolity, vexatiousness, or bad faith. Moreover, Magistrate Judge Foley’s Report

5      and Recommendations do not accuse Plaintiff of acting improperly; rather, he

6      recommended that Plaintiff’s Motion be granted.

7              Defendants appear to have abandoned their prior arguments that the

8      alleged failure to meet arbitration pre-conditions was the conduct warranting

9      fees.   (Compare Doc. No. 10-8 at 11-12.)             Despite moving the goalposts, 11

10     Defendants are not entitled to costs or fees. Plaintiff attempted arbitration; only

11     after Defendants intentionally frustrated these attempts, constituting waiver, did

12     Plaintiff bring this proceeding.      And, once it was apparent that Defendants

13     reversed course to argue that the matter should be arbitrated, Plaintiff

14     amended the complaint to ensure that some adjudication on the merits, either

15     in arbitration or before this Court, would occur.

16             Moreover, should this matter be referred to arbitration, as the Magistrate

17     Judge recommends, Plaintiff, not Defendants, will have been the prevailing

18     party. Defendants themselves never sought to compel arbitration.

19             Even if this Court ultimately disagrees, that alone does not evidence

20     frivolity, vexatiousness, or bad faith.12 Defendants cite to Smarasek v. Nevada,

21     2014 U.S. Dist. LEXIS 128731 (D. Nev. Apr. 16, 2014) for the proposition that “[a]n

22     action becomes frivolous when the result appears obvious or the arguments are

23     wholly without merit." (See Doc. No. 7 at 19.) However, that quotation is directly

24
       11   As Defendants agree that arbitration is proper, the pre-condition argument is
25     without merit and demonstrates that the arbitration (and this subsequent
26     litigation of those very claims) was brought in good faith.
       12 Arguing that Plaintiff’s counsel is knowledgeable is evidence of nothing. The

27     Solicitor General of the United States regularly loses arguments as well.
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1      from the Ninth Circuit.      See Smarasek at * 17 quoting Galen v. Cnty of Los

2      Angeles, 477 F.3d 652, 666 (9th Cir. 2007).           But, in Galen, the Ninth Circuit

3      observed that the fact that Mr. Galen “lost at summary judgment does not

4      render his case per se frivolous, unreasonable, or without foundation.” 477 F.3d

5      at 667.   There had not been any controlling Ninth Circuit or Supreme Court

6      authority that demonstrated frivolity; here, the controlling authority, Brown v.

7      Dillard's, Inc., 430 F.3d 1004, 1012-1013 (9th Cir. 2005), suggests that arbitration

8      had been waived.         Plaintiff had suffered delay and costs, as well as the

9      potential loss of evidence, due to Defendants’ pattern of spoliation. In parallel

10     circumstances, the Ninth Circuit found that delay and litigation costs constituted

11     prejudice and supported a finding of waiver. See Brown v. Dillard's, Inc., 430

12     F.3d at 1012-1013. Even prior to amendment, Plaintiff was not compelled “to

13     honor an arbitration agreement of which [a defendant] is itself in material

14     breach.” Id. at 1006. This litigation has always been meritorious and there is no

15     evidence of bad faith. Thus, no fees or costs are warranted.

16           WHEREFORE Plaintiff respectfully requests that the Motion to Dismiss be

17     denied.

18
       Dated February 8, 2016.                   Respectfully Submitted,
19
                                                 RANDAZZA LEGAL GROUP, PLLC
20
                                                 /s/ Ronald D. Green
21                                               Marc J. Randazza (NV Bar No. 12265)
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26                                               Attorneys for Plaintiff,
                                                 AMA Multimedia, LLC
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1                                                         Case No. 2:15-cv-01673-JCM-GWF

2                                    CERTIFICATE OF SERVICE

3            I HEREBY CERTIFY that on February 8, 2016, I electronically filed the

4      foregoing document with the Clerk of the Court using CM/ECF. I further certify

5      that a true and correct copy of the foregoing document being served via

6      transmission of Notices of Electronic Filing generated by CM/ECF.

7
                                               Respectfully Submitted,
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9
                                               Employee,
10                                             Randazza Legal Group, PLLC
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